Case:17-20315-EEB Doc#:301 Filed:08/21/18              Entered:08/21/18 16:35:03 Page1 of 6



                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:

 COLORADO NATIONAL BANCORP,                      Case No. 17-20315 EEB
 EIN: XX-XXXXXXX                                 Chapter 11

          Debtor.


                                  CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on August 21, 2018, a copy of the COVER
 SHEET FOR APPLICATION FOR PROFESSIONAL COMPENSATION (“Cover Sheet”),
 FIRST AND FINAL APPLICATION FOR ALLOWANCE FOR PROFESSIONAL FEES
 AND COSTS FOR THOMAS M. KIM AS THE INDEPENDENT SALE EXAMINER
 AND R² ADVISORS, LLC AS A PROFESSIONAL FOR THE INDPENDENT SALE
 EXAMINER FOR THE PERIOD OF MARCH 9, 2018 THROUGH AUGUST 6, 2018, and
 NOTICE OF FIRST AND FINAL APPLICATION FOR ALLOWANCE FOR
 PROFESSIONAL FEES AND COSTS FOR THOMAS M. KIM                              AS THE
 INDEPENDENT SALE EXAMINER AND R² ADVISORS, LLC AS A PROFESSIONAL
 FOR THE INDPENDENT SALE EXAMINER FOR THE PERIOD OF MARCH 9, 2018
 THROUGH AUGUST 6, 2018 (the “Notice”) was served via CM/ECF on:

                     James T. Markus              Risa Lynn Wolf Smith

                     Donald D. Allen              Matt Ochs

                     Caroline Fuller              Martin Beeler

                     Matthew Rork                 Patrick Hughes

                     Alan Motes                   Andrew Gillespie

                     Alexander Clark              Lars H. Fuller

         The Cover Sheet and Notice were served on all creditors and parties of interest listed on
 the attached mailing obtained from PACER on August 21, 2018.

          Dated: August 21, 2018.                    JACKSON KELLY PLLC

                                             By: /s/ Steven T. Mulligan
                                                Steven T. Mulligan, #19901
                                                Benjamin J. Ross, #49370
                                                1099 18th Street, Suite 2150
                                                Denver, CO 80202
                                                Tel: (303) 390-0003; Fax: (303) 390-0177
                                                smulligan@jacksonkelly.com
                                                Counsel for Debtor

 4828-1365-1824.v1
Case:17-20315-EEB Doc#:301 Filed:08/21/18   Entered:08/21/18 16:35:03 Page2 of 6
Case:17-20315-EEB Doc#:301 Filed:08/21/18   Entered:08/21/18 16:35:03 Page3 of 6
Case:17-20315-EEB Doc#:301 Filed:08/21/18   Entered:08/21/18 16:35:03 Page4 of 6
Case:17-20315-EEB Doc#:301 Filed:08/21/18   Entered:08/21/18 16:35:03 Page5 of 6
Case:17-20315-EEB Doc#:301 Filed:08/21/18   Entered:08/21/18 16:35:03 Page6 of 6
